Dear Representative Hebert:
This office is in receipt of your opinion request in which you ask if city court marshals have arrest and ticket writing powers, specifically for DWI matters.
LSA-R.S. 13:1879 states in part:
      § 1879. Marshals and constables; election; term of office; exceptions for Lake Charles and Baton Rouge
      A. For each city court, except in the city of Lake Charles, there shall be a marshal or constable, as he may be designated.
Title 13 of the Louisiana Revised Statutes regards courts and judicial procedure and Chapter 7 specifically regards City Courts. Located within Chapter 7 is LSA-R.S. 13:1881, which states in part:
      § 1881. General powers and duties of marshal; deputy marshals
      A. The marshal is the executive officer of the court; he shall execute the orders and mandates of the court and in the execution thereof, and in making arrests and preserving the peace, he has the same powers and authority of a sheriff.
As stated by the above statute, the city marshal does have the power to make arrests and to write tickets.
The offense of operating a vehicle while intoxicated is defined in LSA-R.S. 14:98. There is no provision which excepts operating a vehicle while intoxicated from the list of offenses *Page 2 
for which a city marshal can make an arrest. Thus, a city marshal does have the power to arrest for operating a vehicle while intoxicated.
We hope the foregoing sufficiently addresses your concerns. If our office may be of further assistance, please do not hesitate to contact our office.
Yours very truly,
                                       RICHARD P. IEYOUB ATTORNEY GENERAL
                                       By: RICHARD WILLIAMS
Assistant Attorney General
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